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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION


 FEDERAL TRADE COMMISSION

                      Plaintiff,

     v.                                               Civil Action No. 1:18-cv-03309-PJM
 ECOLOGICAL FOX, LLC, et al.

                      Defendants/Relief
                      Defendants.

           ATLANTIC INTERNATIONAL BANK, LTD.’S OPPOSITION
    TO THE FTC’S MOTION FOR DISCOVERY ORDER LIMITING DISCOVERY
                       PROPOUNDED ON THE FTC


          The Federal Trade Commission’s (“FTC”) Motion for Discovery Order Limiting

Discovery Propounded on the FTC (ECF No. 203) should be denied, at least with respect to

defendant Atlantic International Bank Limited (“AIBL”). While such a limitation may or may not

be appropriate with respect to the “SBE Defendants – AIBL takes no position on that issue – the

Motion is certainly not appropriate to limit AIBL’s ability to propound written discovery on the

FTC, and should be denied with respect to AIBL.

                                      I.      INTRODUCTION

          The FTC seeks a court order that would require all 26 defendants in this matter, despite

their differing interests, somehow to agree on fifty “generally-applicable” interrogatories and fifty

“generally-applicable” requests for production, and would otherwise limit each defendant to five

individual interrogatories and five individual document requests.

          The FTC’s proposal – which the FTC apparently discussed with counsel for defendant

Andris Pukke but never with counsel for AIBL – would work a substantial injustice on AIBL.
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AIBL stands in an entirely different position from the other defendants. The FTC alleges that the

other 25 defendants were involved in a fraudulent property development scheme. AIBL, on the

other hand, merely provided banking services. The FTC does not allege that AIBL was part of the

allegedly fraudulent property development scheme, but only that AIBL allegedly “aided and

facilitated” the other defendants by providing deposit accounts to certain defendants, loans to four

lot purchasers, and receiving unspecified wire transfers. AIBL’s defenses in this case are therefore

quite different from the other defendants’ defenses, and its topics of inquiry to the FTC are

similarly quite different from those of the other defendants.

                                        II.     ARGUMENT

       “[T]he standard for issuance of a protective order is high.” Minter v. Wells Fargo Bank,

N.A., 258 F.R.D. 118, 125 (D. Md. 2009). A party seeking a protective order must establish good

cause for entry of a protective order. See, e.g., Columbia Gas Transmission, LLC v. 252.071 Acres,

No. ELH-15-3462, 2016 U.S. Dist. LEXIS 169639, at *6 (D. Md. Dec. 8, 2016). “In order to

establish good cause, a proponent may not rely upon ‘stereotyped and conclusory statements,’ but

must present a ‘particular and specific demonstration of fact,’ as to why a protective order should

issue.” Baron Fin. Corp. v. Natanzon, 240 F.R.D. 200, 202 (D. Md. 2006). Broad allegations of

harm are insufficient to establish good cause. Id. Because of the limitations they impose on

parties’ discovery rights, “protective orders should be sparingly used and cautiously granted.”

Baron Fin. Corp., 240 F.R.D. at 202.

       A.      The FTC failed to demonstrate good cause to limit AIBL’s discovery.

       The FTC fails to demonstrate good cause to limit AIBL’s written discovery. The FTC

merely hypothesizes that discovery among the other 25 defendants – to whom the FTC refers

collectively as “the Sanctuary Belize Enterprise” might be duplicative, citing as an example one

of defendant Pukke’s interrogatories seeking information on “all Lot purchases in Sanctuary

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Belize. . ..” The example doesn’t provide a basis for limiting discovery as to any defendant – if

another party propounded a similar request, the FTC could simply refer to (or cut-and-paste) its

response to the previous request. More importantly, the example demonstrates why the FTC’s

proposed protective order should not apply to AIBL: AIBL had no involvement with any lot

purchases – the four loans AIBL issued to persons who purchased lots at Sanctuary Belize were

solely construction loans, made after the lots had been purchased – and would be far less interested

than the other defendants in such a request.

        The fact that there are a large number of defendants in the matter is not a valid reason for

issuance of a protective order limiting discovery. The FTC can hardly complain of being

overwhelmed, since it was the FTC itself that decided to bring suit against 26 defendants. Further,

consistent with the maxim that “protective orders should be sparingly used and cautiously

granted,” Baron Fin. Corp., 240 F.R.D. at 202, even a large disparity between the number of

plaintiffs and defendants is not a sufficient basis for limiting a party’s right to discovery. See, e.g.,

Heartland Surgical Specialty Hosp., LLC v. Midwest Div., Inc., No. 05-2164-MLB-DWB, 2007

U.S. Dist. LEXIS 80182, at *11 (D. Kan. Oct. 29, 2007). In Heartland, which involved 18

defendants, the court noted that “the fact that the Defendants’ have served 1,351 requests in total

is not surprising given the number of Defendants involved in this litigation, the allegations of

conspiracy alleged and the fact that Heartland is seeking damages of $121,548,021 jointly and

severally against these defendants.” Id. at *12. Although acknowledging the possibility of

duplicative discovery requests, the Heartland court concluded that it “is not inclined to order that

each defendant who served request for admission be required to review all requests by other

defendants in order to possibly eliminate some duplicative request.” Id. at *14.

        For similar reasons, the 26 defendants in this action, in which the FTC seeks $144 million



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in “restitution,” should not be required to coordinate and horse-trade among themselves solely for

the FTC’s convenience. This is particularly true with respect to AIBL, whose interests and

defenses diverge significantly from those of other defendants.

       The FTC’s broad allegation that responding to discovery from multiple defendants – the

FTC cannot even credibly claim that more than a fraction of the named defendants will serve any

type of written discovery – will be burdensome is simply insufficient to justify a protective order.

See Baron Fin. Corp., 240 F.R.D. at 202 (“Broad allegations of harm, unsubstantiated by specific

examples or articulated reasoning, do not support a good cause showing.”) (quoting Merit

Industries, Inc. v. Feuer, 201 F.R.D. 382, 384-385 (E.D. Pa. 2001)). Because the FTC cannot

make the showing required for issuance of a protective order, its motion should be denied –

particularly with respect to AIBL.

       B.      The FTC did not confer with AIBL before filing its Motion for Protective
               Order.

       Finally, the FTC failed to request a meet and confer with AIBL regarding its proposed

motion for a protective order. Fed. R. Civ. P. 26(c) requires that a party seeking a protective order

first confer or attempt to confer with “other affected parties in an effort to resolve the dispute

without court action.” The FTC has made no such effort, which provides further reason to deny

the FTC’s motion.

                                       III.    CONCLUSION

       AIBL stands in an entirely different position from the “Sanctuary Belize Enterprise”

defendants whom the FTC accuses of engaging in fraudulent telemarketing. It would be patently

unfair to limit AIBL’s ability to conduct discovery in this matter. Moreover, the FTC has failed

to meet its burden of showing that the requested protective order is necessary in any event.

Accordingly, FTC’s Motion for Protective Order should be denied.


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DATE: February 25, 2019                              Respectfully submitted,

                                                     /s/ Creighton R. Magid
                                                     Creighton R. Magid (Bar No. 15488)
                                                     DORSEY & WHITNEY LLP
                                                     1401 New York Avenue, N.W., Suite 900
                                                     Washington, D.C. 20005
                                                     Telephone: (202) 442-3555
                                                     Fax: (202) 442-3199
                                                     magid.chip@dorsey.com

                                                     Counsel for Defendant Atlantic
                                                     International Bank, Ltd.




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of February, 2019, a copy of the foregoing

ATLANTIC INTERNATIONAL BANK, LTD.’S OPPOSITION TO THE FTC’S MOTION FOR

DISCOVERY ORDER LIMITING DISCOVERY PROPOUNDED ON THE FTC was filed

electronically with the Clerk of Court for the United States District Court for the Maryland using

the CM/ECF system and accomplished service via the same.

                                                /s/ Creighton R. Magid
                                                CREIGHTON R. MAGID




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